                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB            Document 29
                                                   Document 747 Filed
                                                                  Filed11/03/2005
                                                                        11/03/05       Page
                                                                                        Page11ofof16
                                                                                                   16



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 8                                        UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF WASHINGTON
 9                                                 AT TACOMA
10
11      ROBERT CHARLES TILLITZ,
                                                                    Case No. C05-5144RJB
12                                  Petitioner,                               CR94-5074RJB

13                        v.

14      UNITED STATES OF AMERICA,

15                                  Respondent.

16      CRAIG CARRINGTON,
17                                   Petitioner,                    Case No. C05-5286RJB
                                                                             CR89-88RJB
18                             v.
19      UNITED STATES OF AMERICA,                                          ORDER
20                                   Respondent.
21
22              This matter comes before the court on petitioner Robert Charles Tillitz’s motion for a Writ of Error

23   Audita Querela (C05-5144RJB, Dkt. 1) and on petitioner Craig Carrington’s Motion for Modification of

24   an Imposed Term of Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2) (C05-5286RJB, Dkt. 1). The

25   court has considered the pleadings filed in support of and in opposition to the motions and the file herein.

26   Because both Mr. Tillitz and Mr. Carrington request resentencing pursuant to United States v. Booker, 125

27   S.Ct. 738 (2005), even though the requests are brought to the court based upon different theories, it is

28   appropriate that the court consider the petitions together.


     ORDER
     Page - 1
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB         Document 29
                                                Document 747 Filed
                                                               Filed11/03/2005
                                                                     11/03/05            Page
                                                                                          Page22ofof16
                                                                                                     16



 1                                               PROCEDURAL HISTORY
 2              Mr. Tillitz. In 1998, Mr. Tillitz was convicted after a jury trial of (a) conspiracy to import hashish
 3   in violation of 21 U.S.C. § 963 (count one); (b) conspiracy to distribute hashish in violation of 21 U.S.C. §
 4   846 (count two); (c) importation of hashish in violation of 21 U.S.C. § 952 and 18 U.S.C. § 2 (count
 5   sixteen); (d) possession of hashish with intent to distribute in violation of 21 U.S.C. § 841 and 18 U.S.C. §
 6   2 (count seventeen); and interstate and foreign travel or transportation in aid of racketeering enterprises in
 7   violation of 18 U.S.C. § 1952 (counts eight, ten, eleven, twelve, fifteen and eighteen). At the sentencing
 8   hearing on August 14, 1998, this judge determined that, based on the evidence presented during the trial,
 9   more than 6,000 kilograms of hashish were involved in these offenses, resulting in a total offense level of
10   38. The court also applied a four-level enhancement for leadership role. Based upon a total offense level
11   of 42, and a Criminal History category of I, the court found the resulting Sentencing Guidelines range to be
12   360 months to life in prison. The court then sentenced Mr. Tillitz to 360 months of imprisonment, to be
13   followed by five years of supervised release, and imposed a fine of $2 million.
14              On September 17, 1999, following an appeal, the Ninth Circuit U.S. Court of Appeals affirmed Mr.
15   Tillitz’s conviction and sentence. United States v. Tillitz, No. 98-30229 (9th Cir. 1999). On December
16   29, 1999, the Ninth Circuit denied Mr. Tillitz’s petition for rehearing with suggestion for rehearing en
17   banc. Id. Mr. Tillitz filed a petition for certiorari with the United States Supreme Court, which denied the
18   petition on October 2, 2000, and denied his petition for rehearing on November 6, 2000.
19              On May 15, 2001, Mr. Tillitz filed a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside or

20   correct his sentence. Tillitz v. U.S.A., C01-5257RJB. That motion attacked the conviction on three
21   grounds: (1) that the jury failed to determine drug quantity beyond a reasonable doubt, relying on Apprendi
22   v. New Jersey, 530 U.S. 466, 490 (2000); (2) that Mr. Tillitz was denied choice of counsel at arraignment;
23   and (3) that his waiver of the right to counsel was invalid. After staying the case pending the issuance of
24   the Ninth Circuit’s en banc decision in United States v. Buckland, 227 F.3d 1173 (9th Cir. 2002), on
25   March 22, 2002, this court denied the Section 2255 motion as time-barred, and in an alternative holding,
26   denied the motion on the merits. Judgment was entered on March 25, 2002. C01-5257RJB, Dkt. 38 and
27   39. On April 12, 2002, this court denied Mr. Tillitz’s motion for reconsideration. Id., Dkt. 43. On
28


     ORDER
     Page - 2
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB         Document 29
                                                Document 747 Filed
                                                               Filed11/03/2005
                                                                     11/03/05           Page
                                                                                         Page33ofof16
                                                                                                    16



 1   July 26, the court denied a Certificate of Appealability. On February 28, 2003, the Ninth Circuit issued a
 2   Mandate dismissing the appeal and denying a Certificate of Appealability. Id., Dkt. 55.
 3              On July 25, 2003, Mr. Tillitz filed a Petition for a Writ of Mandamus, asserting jurisdiction under
 4   the All Writs Act; 28 U.S.C. §§ 1651, 1361, 1331; and the Fifth, Sixth, and Eighth Amendments of the
 5   Constitution. Tillitz v. U.S. District Court for the Western District of Washington, C03-5411RJB. On
 6   August 1, 2003, the court determined that the petition was a second or successive motion under 28 U.S.C.
 7   § 2255, and dismissed the motion without prejudice, subject to the requirement that Mr. Tillitz obtain and
 8   include with any subsequent 28 U.S.C. § 2255 motion he files with this court an order from the Ninth
 9   Circuit U.S. Court of Appeals authorizing this court to consider the motion. Id., Dkt. 2. Mr. Tillitz filed an
10   appeal of this court’s order dismissing the motion without prejudice. On October 7, 2004, the Ninth
11   Circuit issued a Mandate affirming the district court order. Id., Dkt. 9.
12              On February 17, 2004, Mr. Tillitz filed a Motion to Vacate, Set Aside, or Correct Sentence
13   Pursuant to Title 28 U.S.C. § 2255. Tillitz v. U.S. District Court for the Western District of Washington,
14   C04-5078 RJB. Mr. Tillitz contended that he had recently discovered from the court’s criminal docket
15   three parties who had never been disclosed to him. Mr. Tillitz claimed that he was never afforded the
16   opportunity to confront these individuals at trial, and that his conviction and sentence are unconstitutional
17   under the Fifth, Sixth, and Eighth Amendments to the Constitution. On February 19, 2004, the court
18   dismissed the motion without prejudice, subject to the requirement that Mr. Tillitz obtain and include with
19   any subsequent 28 U.S.C. § 2255 motion he files with this court an order from the Ninth Circuit U.S.
20   Court of Appeals authorizing this court to consider the motion. Id., Dkt. 2. Mr. Tillitz then filed a Motion
21   for Relief from Order Under F.R.Cv.P. Rule 60(b)(6) or Alternatively Notice of Appeal; on March 5, 2004,
22   the court denied the motion and also denied a Certificate of Appealability. Id., Dkt. 6. Mr. Tillitz appealed
23   to the Ninth Circuit. On April 4, 2004, the Ninth Circuit issued a Mandate denying Mr. Tillitz a Certificate
24   of Appealability; the Ninth Circuit informed Mr. Tillitz that, if he wished to file a second or successive
25   motion under 28 U.S.C. § 2255, he must first move the Ninth Circuit for an order authorizing the district
26   court to consider the motion. See Robert Charles Tillitz v. United States, CCA No. 04-35211. Mr. Tillitz
27   filed a petition for a Writ of Certiorari with the Supreme Court, and that petition was denied on June 1,
28   2004.


     ORDER
     Page - 3
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB        Document 29
                                               Document 747 Filed
                                                              Filed11/03/2005
                                                                    11/03/05           Page
                                                                                        Page44ofof16
                                                                                                   16



 1              On June 30, 2004, Mr. Tillitz filed a Motion to Vacate, Set Aside, or Correct Sentence Pursuant to
 2   Title 28 U.S.C. § 2255 (¶6)(3). Tillitz v. United States District Court, C04-5381RJB. In the motion, Mr.
 3   Tillitz claimed that he should be resentenced pursuant to the decision of the United States Supreme Court

 4   in Blakely v. Washington, 524 U.S. 296 (2004); and requested that the court assume jurisdiction under 28

 5   U.S.C. § 3582(c)(2), in the event that the court did not find that it had jurisdiction to consider the Section
 6   2255 motion. In that motion, Mr. Tillitz claimed that the court made a four level adjustment under the
 7   Sentencing Guidelines for Mr. Tillitz’s role in the offense; and that, under Blakely, that adjustment made
 8   the sentence invalid because the sentencing factor was found by a judge rather than a jury. On July 20,
 9   2004, the court dismissed the case without prejudice, subject to the requirement that Mr. Tillitz obtain and

10   include with any subsequent 28 U.S.C. § 2255 motion he files with this court an order from the Ninth
11   Circuit U.S. Court of Appeals authorizing this court to consider the motion. On September 1, 2004, Mr.
12   Tillitz filed an application for authorization to file a second or successive § 2255 motion with the Ninth
13   Circuit. See Robert Charles Tillitz v. United States, CCA No. 04-74402. This request was based upon the
14   Supreme Court’s decision in Blakely v. Washington, 524 U.S. 296 (2004). On February 15, 2005, the
15   Ninth Circuit denied the motion for authorization to file a second or successive 2255 motion. See Robert
16   Charles Tillitz v. United States, CCA no. 04-74402.
17              On March 2, 2005, Mr. Tillitz filed the instant motion for a Writ of Error Audita Querela,
18   requesting that he be resentenced, based upon the United States Supreme Court’s decisions in United
19   States v. Booker, No. 04-104, and United States v. Fanfan, No. 04-105; 125 S.Ct. 738, 2005 WL 50108
20   (U.S. Jan. 12, 2005). C05-5144RJB, Dkt. 1. On March 29, 2005, the court appointed counsel to
21   represent Mr. Tillitz in this case. Id., Dkt. 4.
22              Mr. Carrington. In 1990, Mr. Carrington was convicted by plea of guilty of one count of
23   conspiracy to distribute in excess of 500 grams of cocaine in violation of 21 U.S.C. § 846 and
24   841(b)(1))B), and was sentenced to 324 months of imprisonment and a $20,000 fine. USA v. Carrington,
25   CR89-00088RJB. Mr. Carrington appealed to the Ninth Circuit after the district court denied his motion
26   to withdraw his guilty plea; the Ninth Circuit affirmed the district court judgment. He is currently
27   incarcerated pursuant to the sentence imposed by this court in CR89-00088RJB.
28


     ORDER
     Page - 4
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB         Document 29
                                                Document 747 Filed
                                                               Filed11/03/2005
                                                                     11/03/05           Page
                                                                                         Page55ofof16
                                                                                                    16



 1              On March 29, 1996, Mr. Carrington filed a motion pursuant to 28 U.S.C. § 2255 to vacate, set
 2   aside, or correct the sentence. Carrington v. USA, C96-5302RJB. On August 16, 1996, the district court
 3   denied the motion, and the Ninth Circuit affirmed. Id.
 4              On May 24, 1999, Mr. Carrington filed a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside,
 5   or correct his sentence, arguing that his sentence was unconstitutional because it violated the ex post facto
 6   clause. Carrington v. USA, C99-5288RJB. On August 20, 1999, the district court denied the motion, and a

 7   Certificate of Appealability was denied on September 21, 1999. Id.

 8              In July 2004, Mr. Carrington filed a request for a Writ of Error Coram Nobis, arguing that his

 9   counsel was ineffective because he allowed Mr. Carrington to be illegally sentenced for conspiracy.

10   Carrington v. USA, C04-5500RJB, Dkt. 1. On August 30, 2004, the court issued an order, concluding that

11   the request was a second or successive motion under 28 U.S.C. § 2255, and dismissing the petition without

12   prejudice, subject to the requirement that Mr. Carrington obtain and include with any subsequent 28 U.S.C.

13   § 2255 motion he files with this court an order from the Ninth Circuit U.S. Court of Appeals authorizing

14   this court to consider the motion. Id., Dkt. 4. On December 27, 2004, the Ninth Circuit denied a

15   Certificate of Appealability. Id., Dkt. 12.

16              On April 15, 2005, Mr. Carrington filed the instant Motion for Modification of an Imposed Term of

17   Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2), requesting that he be resentenced pursuant to the

18   decision of the Supreme Court in United States v. Booker, 125 S.Ct. 738 (2005). Carrington v. U.S.A.,

19   C05-5286RJB, Dkt. 1. On May 16, 2005, counsel was appointed to represent Mr. Carrington. Id., Dkt. 5.

20                                                     DISCUSSION
21              1. Motions. Mr. Tillitz contends in this motion for writ of Audita Querela that his sentence is
22   invalid under United States v. Booker, 125 S.Ct. 738, 767 (2005), because (1) it was based upon the then-
23   mandatory Sentencing Guidelines, which the Supreme Court held in Booker to be advisory, rather than
24   mandatory; and (2) it was based upon facts that he did not admit and were not found by a jury beyond a
25   reasonable doubt.
26              Mr. Carrington claims in his motion that he should be resentenced pursuant to 18 U.S.C. §
27   3582(c)(2) because the decision in Booker effectively reduced his sentencing range when the Supreme
28   Court made the Sentencing Guidelines discretionary rather than mandatory. Mr. Carrington also argues


     ORDER
     Page - 5
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB         Document 29
                                                Document 747 Filed
                                                               Filed11/03/2005
                                                                     11/03/05           Page
                                                                                         Page66ofof16
                                                                                                    16



 1   that, in the event that the court determines he is not entitled to relief pursuant to Section 3582(c)(2), he is
 2   entitled to the Audita Querela relief requested by Mr. Tillitz.
 3              2. Sentencing Law Post-Apprendi. In Apprendi v. New Jersey, 530 U.S. 466, 490 (2000), the
 4   Supreme Court held that “[o]ther than the fact of a prior conviction, any fact that increases the penalty for
 5   a crime beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond a
 6   reasonable doubt.” In Blakely v. Washington, 524 U.S. 296, ___, 124 S.Ct. 2531, 2537 (2004), the
 7   Supreme Court stated: “Our precedents make clear, however, that the ‘statutory maximum’ for Apprendi
 8   purposes is the maximum sentence a judge may impose solely on the basis of the facts reflected in the jury
 9   verdict or admitted by the defendant.” In United States v. Booker, 125 S.Ct. 738, 756 (2005), the
10   Supreme Court applied the concepts articulated in Apprendi and Blakely, and held that the Sentencing
11   Guidelines violated the Sixth Amendment. That outcome followed from the conclusion that the Sixth
12   Amendment precludes a judge from enhancing a sentence based on extra-verdict findings, other than the
13   fact of prior conviction, in a mandatory sentencing regime. Id. at 748-49. A majority of the Court
14   remedied the Sixth Amendment infirmity in the federal sentencing scheme by making the Sentencing
15   Guidelines, in essence, advisory. United States v. Booker, 125 S.Ct. at 764.
16              Booker expressly provided for its application to all cases on direct review. Id. at 769. In United
17   States v. Ameline, 409 F.3d 1073 (9th Cir. 2005), the Ninth Circuit set out the procedure to be used to
18   consider the application of Booker in those cases in which a defendant failed to preserve a Sixth
19   Amendment claim at the time of sentencing. In those cases, the defendant bears the burden of
20   demonstrating that there is a reasonable probability that he would have received a different sentence had
21   the district court known that the Sentencing Guidelines were advisory. Id., at 107. Under Booker and
22   Ameline, relief in the form of at least a limited remand, is therefore available to all pending direct criminal
23   appeals, whether the claim is based upon the Sixth Amendment or is a challenge to the mandatory
24   application of the guidelines. See United States v. Moreno-Hernandez, 419 F.3d 906, 916 (9th Cir. 2005).
25              The rule is different for cases such as those of Mr. Tillitz and Mr. Carrington, in which a Booker
26   error is raised on collateral review. In United States v. Cruz, 2005 WL 2243113 (9th Cir. 2005), the Ninth
27   Circuit concluded Booker did not apply retroactively on collateral review to convictions that became final
28   prior to Booker’s pronouncement, reasoning that Booker announced a new rule of criminal procedure that


     ORDER
     Page - 6
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB          Document 29
                                                 Document 747 Filed
                                                                Filed11/03/2005
                                                                      11/03/05             Page
                                                                                            Page77ofof16
                                                                                                       16



 1   did not qualify as watershed rule within the exception to the rule of general non-retroactivity announced in
 2   Teague v. Lane, 489 U.S. 288, 310 (1989).
 3              3. Mr. Carrington’s Request for Relief under 18 U.S.C. § 3582(c)(2).
 4              Mr. Carrington contends that his sentence is unlawful, and he requests relief under 18 U.S.C. §
 5   3582(c)(2).

 6              18 U.S.C. § 3582 provides as follows:
 7              § 3582. Imposition of a sentence of imprisonment
 8              (a) Factors to be considered in imposing a term of imprisonment.--The court, in determining
                whether to impose a term of imprisonment, and, if a term of imprisonment is to be imposed, in
 9              determining the length of the term, shall consider the factors set forth in section 3553(a) to the
                extent that they are applicable, recognizing that imprisonment is not an appropriate means of
10              promoting correction and rehabilitation. In determining whether to make a recommendation
                concerning the type of prison facility appropriate for the defendant, the court shall consider any
11              pertinent policy statements issued by the Sentencing Commission pursuant to 28 U.S.C. 994(a)(2).
12
                (b) Effect of finality of judgment.--Notwithstanding the fact that a sentence to imprisonment can
13              subsequently be--
14                (1) modified pursuant to the provisions of subsection (c);
                  (2) corrected pursuant to the provisions of rule 35 of the Federal Rules of Criminal Procedure
15              and section 3742; or
                  (3) appealed and modified, if outside the guideline range, pursuant to the provisions of section
16              3742;
17              a judgment of conviction that includes such a sentence constitutes a final judgment for all other
                purposes.
18
19              (c) Modification of an imposed term of imprisonment.--The court may not modify a term of
                imprisonment once it has been imposed except that--
20
                  (1) in any case--
21                  (A) the court, upon motion of the Director of the Bureau of Prisons, may reduce the term of
                imprisonment (and may impose a term of probation or supervised release with or without
22              conditions that does not exceed the unserved portion of the original term of imprisonment), after
                considering the factors set forth in section 3553(a) to the extent that they are applicable, if it finds
23              that--
                       (i) extraordinary and compelling reasons warrant such a reduction; or
24                     (ii) the defendant is at least 70 years of age, has served at least 30 years in prison, pursuant to
                a sentence imposed under section 3559(c), for the offense or offenses for which the defendant is
25              currently imprisoned, and a determination has been made by the Director of the Bureau of Prisons
                that the defendant is not a danger to the safety of any other person or the community, as provided
26              under section 3142(g);
27              and that such a reduction is consistent with applicable policy statements issued by the Sentencing
                Commission; and
28                  (B) the court may modify an imposed term of imprisonment to the extent otherwise expressly
                permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure; and

     ORDER
     Page - 7
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB         Document 29
                                                Document 747 Filed
                                                               Filed11/03/2005
                                                                     11/03/05            Page
                                                                                          Page88ofof16
                                                                                                     16



 1                (2) in the case of a defendant who has been sentenced to a term of imprisonment based on a
                sentencing range that has subsequently been lowered by the Sentencing Commission pursuant to 28
 2              U.S.C. 994(o), upon motion of the defendant or the Director of the Bureau of Prisons, or on its
                own motion, the court may reduce the term of imprisonment, after considering the factors set forth
 3              in section 3553(a) to the extent that they are applicable, if such a reduction is consistent with
                applicable policy statements issued by the Sentencing Commission.
 4
                (d) Inclusion of an order to limit criminal association of organized crime and drug offenders.--The
 5              court, in imposing a sentence to a term of imprisonment upon a defendant convicted of a felony set
                forth in chapter 95 (racketeering) or 96 (racketeer influenced and corrupt organizations) of this title
 6              or in the Comprehensive Drug Abuse Prevention and Control Act of 1970 (21 U.S.C. 801 et seq.),
                or at any time thereafter upon motion by the Director of the Bureau of Prisons or a United States
 7              attorney, may include as a part of the sentence an order that requires that the defendant not
                associate or communicate with a specified person, other than his attorney, upon a showing of
 8              probable cause to believe that association or communication with such person is for the purpose of
                enabling the defendant to control, manage, direct, finance, or otherwise participate in an illegal
 9              enterprise.
10   Emphasis in the original.
11              Mr. Carrington contends that (1) because the Supreme Court’s decision in Booker lowered the
12   mandatory sentencing range for his offenses, the court should resentence him pursuant to 18 U.S.C. §
13   3582(c)(2); (2) 18 U.S.C. § 3582(c)(2) provides the only remedy to correct his sentence because direct
14   appeal offers only speculative relief when a guideline is ambiguous and § 2255 proceedings provide
15   essentially no relief for the incorrect application of the guidelines; and (3) interpreting § 3582(c)(2) broadly
16   preserves to the district court a portion of its inherent power to correct a sentence it has imposed. C05-
17   5286RJB, Dkt. 9.
18              The government opposes Mr. Carrington’s motion, arguing that (1) because his sentence was not
19   based upon a sentencing range subsequently lowered by the Sentencing Commission, there is no basis for
20   the motion under 18 U.S.C. § 3582(c)(2); and (2) if the court determines that the motion should be
21   characterized as a § 2255 motion, it should be dismissed as a second or successive motion that has not
22   been authorized by the Ninth Circuit. C05-5286RJB, Dkt. 10.
23              18 U.S.C. § 3582(c)(2) provides that the court may reduce a term of imprisonment if the
24   sentencing range has subsequently been lowered by the Sentencing Commission. The Sentencing
25   Commission did not lower the sentencing ranges for Mr. Carrington’s crimes. The statute does not
26   authorize the court to reduce a term of imprisonment based upon a Supreme Court decision. Moreover,
27   the Booker decision held that the Sixth Amendment precludes a judge from enhancing a sentence based on
28   extra-verdict findings, other than the fact of prior conviction, in a mandatory sentencing regime; and that


     ORDER
     Page - 8
                 Case3:05-cv-05144-RJB
                Case  3:94-cr-05074-RJB        Document 29
                                               Document 747 Filed
                                                              Filed11/03/2005
                                                                    11/03/05           Page
                                                                                        Page99ofof16
                                                                                                   16



 1   the Sentencing Guidelines are advisory; Booker did not lower a sentencing range. Mr. Carrington cannot
 2   obtain relief under 18 U.S.C. § 3582(c)(2).
 3              4. Mr. Tillitz and Mr. Carrington’s Request for Writ of Audita Querela. On March 2, 2005,
 4   Mr. Tillitz filed a motion for a Writ of Error Audita Querela, requesting that he be resentenced, based upon
 5   the United States Supreme Court’s decisions in United States v. Booker, No. 04-104, and United States v.
 6   Fanfan, No. 04-105; 125 S.Ct. 738, 2005 WL 50108 (U.S. Jan. 12, 2005). C05-5144RJB, Dkt. 1.
 7              On May 23, 2005, the government filed a response to the motion, contending that this writ is not
 8   available for relief otherwise available pursuant to 28 U.S.C. § 2255 and should be dismissed, or in the
 9   alternative, that the motion be recharacterized as a § 2255 motion and dismissed or transferred to the Ninth
10   Circuit U.S. Court of Appeals because it is a second or successive petition. C05-5144RJB, Dkt. 11.
11              On September 28, 2005, Mr. Tillitz filed a reply memorandum, arguing that the writ of Audita
12   Querela should be granted because (1) the All Writs Act and the common law writ of Audita Querela
13   allow district courts to provide relief from unconstitutional judgments, sentences or their consequences
14   where habeas relief has been and remains unavailable; (2) a writ of Audita Querela should be available to
15   Mr. Tillitz because Booker relief is unavailable to him under 28 U.S.C. § 2255 for the sentencing error; and
16   (3) the equities of the case, in combination with independent legal grounds, favor granting the writ and
17   resentencing of Mr. Tillitz. C05-5144RJB, Dkt. 23.
18              On October 6, 2005, Mr. Carrington filed a supplemental memorandum, requesting that, if the
19   court finds that he is not entitled to relief pursuant to 18 U.S.C. § 3582(c)(2), Mr. Tillitz’s motion for Writ
20   of Audita Querela be applied to Mr. Carrington as an alternate basis for resentencing. C05-5286RJB, Dkt.
21   9.
22              In United States v. Valdez-Pacheco, 237 F.3d 1077 (9th Cir. 2001), the Ninth Circuit held that a
23   federal prisoner cannot challenge a conviction or sentence by way of a petition for a writ of audita querela
24   if the prisoner's claims could be raised in a motion pursuant to § 2255. The court reasoned as follows:
25              At common law, the writ of audita querela permitted a judgment debtor to obtain equitable relief
                from a legal judgment because of some defense or discharge arising after the entry of the judgment.
26              7 Am.Jur.2d Audita Querela § 1 (1997). Audita querela has been expressly abolished in civil cases
                by the Rules of Civil Procedure. See Fed.R.Civ.P. 60(b). The writ, or a modern equivalent, at least
27              potentially survives in the federal criminal context, however, under the Supreme Court's decision in
                United States v. Morgan, 346 U.S. 502, 74 S.Ct. 247, 98 L.Ed. 248 (1954) and the All Writs Act.
28              See Doe v. INS, 120 F.3d 200, 203 (9th Cir. 1997); 28 U.S.C. § 1651(a) ( "The Supreme Court
                and all courts established by Act of Congress may issue all writs necessary or appropriate in aid of

     ORDER
     Page - 9
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB          Document 29
                                             Document 747 Filed
                                                            Filed11/03/2005
                                                                  11/03/05            Page
                                                                                       Page10
                                                                                            10ofof16
                                                                                                   16



 1           their respective jurisdictions and agreeable to the usages and principles of law.").
 2           In Morgan, the Court decided that Rule 60(b) did not abolish a federal prisoner's right to petition
             for the related common law writ of coram nobis because such a petition is part of the original
 3           criminal case, not a separate civil proceeding. Morgan, 346 U.S. at 505-06 n. 4. The Court further
             concluded that § 2255 did not encompass the entire field of postconviction relief and that, in the
 4           proper circumstances, coram nobis remained available to invalidate a defective federal criminal
             conviction. Id. at 511.
 5
     United States v. Valdez-Pacheco, 237 F.3d at 1079.
 6
             Common law writs, such as coram nobis and audita querela, survive only to the extent that they fill
 7
     gaps in the current systems of postconviction relief. Id. “[A] federal prisoner may not challenge a
 8
     conviction or sentence by way of a petition for a writ of audita querela when that challenge is cognizable
 9
     under § 2255 because, in such a case, there is no “gap” to fill in the postconviction remedies.” Id. at 1080.
10
     This is so even if the petitioner is precluded from filing a Section 2255 motion by the limitations of the
11
     Antiterrorism and Effective Death Penalty Act of 1996 , Pub.L. 104-132, tit. I, § 105, 110 Stat. 1214,
12
     1220 (AEDPA) (codified in relevant part at 28 U.S.C. §§ 2255). Id.
13
             Mr. Tillitz argues that, in contrast to the Valdez-Pacheco petitioner whose claims were clearly and
14
     previously cognizable under § 2255, Mr. Tillitz’s Booker claim has never been available to him because of
15
     the combined operation of the lack of any Booker decision for him to rely upon (until January 12, 2005),
16
     the time limits and bars affecting direct appeals and collateral attacks, and the decision in Cruz analyzing
17
     the anti-retroactivity principles of Teague as they relate to Booker claims in § 2255 motions. C05-
18
     5144RJB, Dkt. 23. “Unlike Valdez-Pacheco, in which no actual or legitimate gap in relief existed, Mr.
19
     Tillitz currently serves a sentence imposed under a system now understood by all to be unconstitutional,
20
     yet whose path to relief is blocked because Booker did not exist until just recently and Cruz now interprets
21
     Teague to bar retroactivity.” Id. at 6-7.
22
             Mr. Carrington argues that the retroactivity analysis conducted in the collateral context of Cruz
23
     does not apply to Mr. Carrington’s situation because Mr. Carrington has filed a motion to reopen his
24
     criminal case pursuant to a writ of audita querela; and that Booker should be applied retroactively. C05-
25
     5286, Dkt. 12.
26
27
28


     ORDER
     Page - 10
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB         Document 29
                                            Document 747 Filed
                                                           Filed11/03/2005
                                                                 11/03/05             Page
                                                                                       Page11
                                                                                            11ofof16
                                                                                                   16



 1           Petitioners’ arguments are unpersuasive, in light of the decisions of the Ninth Circuit that this court
 2   is compelled to follow. In United States v. Valdez-Pacheco, 237 F.3d 1077 (9th Cir. 2001), the Ninth
 3   Circuit held that a federal prisoner cannot challenge a conviction or sentence by way of a petition for a writ
 4   of audita querela if the prisoner's claims could be raised in a motion pursuant to § 2255. Although Booker
 5   was decided after Mr. Tillitz and Mr. Carrington’s convictions became final, either of these petitioners
 6   could have raised, at sentencing and on direct appeal, the issues that underlie Booker: the sentence
 7   enhancements determined by a judge rather than by a jury beyond a reasonable doubt; and the mandatory
 8   application of the Sentencing Guidelines. Mr. Tillitz and Mr. Carrington did not specifically raise these
 9   issues at sentencing and on direct appeal. A writ of audita querela is not available to Mr. Tillitz or to Mr.
10   Carrington because there are no gaps to fill in the post-conviction remedies, and Ninth Circuit law prevents
11   them from obtaining relief by a common law writ.
12           5. Relief under 28 U.S.C. § 2255. Both Mr. Tillitz and Mr. Carrington are requesting that the
13   court vacate, set aside, or correct their sentences. A prisoner in custody pursuant to a judgment and
14   sentence imposed by the federal court, who claims the right to be released on the ground that the sentence
15   was imposed in violation of the Constitution or laws of the United States, or that the court was without
16   jurisdiction to impose such sentence, or that the sentence was in excess of the maximum authorized by law,
17   or is otherwise subject to collateral attack, may move the court that imposed the sentence to vacate, set
18   aside or correct the sentence. 28 U.S.C. § 2255. The motions requesting relief under 18 U.S.C. §
19   3582(c)(2), and requesting a writ of audita querela are attempts to maneuver square pegs into round holes.

20   Mr. Tillitz and Mr. Carrington’s requests should be construed as motions to vacate, set aside, or correct
21   sentences under 28 U.S.C. § 2255.
22           28 U.S.C. § 2255 provides a limitation on a prisoner who attempts to file a second or subsequent
23   motion under that section.
24           Under 28 U.S.C. § 2255, a second or successive motion must be certified as provided in section 28
             U.S.C. § 2244 by a panel of the appropriate court of appeals to contain–
25
                     (1) newly discovered evidence that, if proven and viewed in light of the evidence as a
26                  whole, would be sufficient to establish by clear and convincing evidence that no reasonable
                    factfinder would have found the movant guilty of the offense; or
27
                     (2) a new rule of constitutional law, made retroactive to cases on collateral review by the
28                  Supreme Court, that was previously unavailable.
     28 U.S.C. § 2255. See also the procedure set forth in 28 U.S.C. § 2244.
     ORDER
     Page - 11
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB          Document 29
                                             Document 747 Filed
                                                            Filed11/03/2005
                                                                  11/03/05            Page
                                                                                       Page12
                                                                                            12ofof16
                                                                                                   16



 1           Mr. Tillitz previously filed motions to vacate, set aside or correct his sentence. See Tillitz v.
 2   U.S.A., C01-5257RJB (motion under 28 U.S.C. § 2255); Tillitz v. U.S. District Court for the Western
 3   District of Washington, C03-5411RJB (petition for writ of mandamus that the court considered to be a
 4   motion under Section 2255); Tillitz v. U.S. District Court for the Western District of Washington, C04-
 5   5078 RJB (motion under 28 U.S.C. § 2255); and Tillitz v. United States District Court, C04-5381RJB
 6   (motion under 28 U.S.C. § 2255, and in the alternative, request for relief under 28 U.S.C. § 3582(c)(2)).
 7           Mr. Carrington previously filed motions to vacate, set aside or correct his sentence. See
 8   Carrington v. USA, C96-5302RJB (motion under 28 U.S.C. § 2255); Carrington v. USA, C99-5288RJB
 9   (motion under 28 U.S.C. § 2255); and Carrington v. USA, C04-5500RJB (request for writ of error coram
10   nobis that the court considered to be a motion under Section 2255).
11           The current motions before the court are successive motions under 28 U.S.C. § 2255. This court is
12   without jurisdiction to consider these motions, since the court has not received the appropriate
13   authorization from the Ninth Circuit, as required by 28 U.S.C. § 2255. Before this court can entertain
14   those motions, Mr. Tillitz and Mr. Carrington must obtain an order from the Ninth Circuit U.S. Court of
15   Appeals authorizing this court to consider them. The problem for Mr. Tillitz and Mr. Carrington is that
16   Booker contains a new rule of constitutional law, but that rule has not been made retroactive by the
17   Supreme Court to cases, like these, on collateral review.
18           The court notes that 28 U.S.C. § 2255 includes a time limit for filing a motion under that section.
19   However, since the court does not have jurisdiction over the second or successive motions in this case, that
20   issue is not before the court.1
21           Mr. Tillitz and Mr. Carrington’s motions for to vacate, set aside or correct their sentences should
22   be transferred to the Ninth Circuit to determine whether this court can consider the motions.
23           6. Other Possible Relief. The Ninth Circuit recently granted a motion to recall a mandate in a
24   case that raised issues under Blakely and Booker, stating as follows:
25           This case involves "extraordinary circumstances" sufficient to justify our recall of the mandate,
             Calderon v. Thompson, 523 U.S. 538, 550, 118 S.Ct. 1489, 140 L.Ed.2d 728 (1998); see also
26           Nevius v. Sumner, 105 F.3d 453, 460-61 (9th Cir. 1996), because: (1) the sentencing judge
27
             1
28           The time limit included in 28 U.S.C.§ 2255 may be subject to equitable tolling. See Calderon v.
     United States District Court for Central District of California (Beeler), 128 F.3d 1283, 1288- 89 (9th
     Cir.1997), cert. denied 118 S.Ct. 899 (1998).
     ORDER
     Page - 12
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB         Document 29
                                            Document 747 Filed
                                                           Filed11/03/2005
                                                                 11/03/05             Page
                                                                                       Page13
                                                                                            13ofof16
                                                                                                   16



 1           expressed explicit reservations on the record about the sentence required under the previously
             mandatory Sentencing Guidelines; [FN1] and (2) the Supreme Court's decision in Blakely v.
 2           Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004), foreshadowing its holding in
             United States v. Booker, --- U.S. ----, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), was rendered before
 3           the mandate issued. [FN2] Accordingly, we recall the mandate, vacate the sentence, and remand to
             the district court for resentencing pursuant to Booker, United States v. Ameline, 409 F.3d 1073,
 4           1078-85 (9th Cir. 2005).
 5           FN1. The sentencing judge is on the record saying: "[T]his is the kind of case that causes a court
             like myself a great deal of agony because the sentencing ranges are extraordinarily high. I was--you
 6           know, you are always shocked to see these. Without the acceptance of responsibility, there may
             have been a low end sentence calculated at 262 months. You know, that is huge.... I mean, we are
 7           talking about serious consequences ...."
 8           FN2. Our decision in United States v. King, 419 F.3d 1035 (9th Cir. 2005) (per curiam), where we
             addressed Booker in denying the defendant's motion to recall the mandate, is distinguishable
 9           because neither of the special circumstances that we highlight in Crawford's case were present in
             King. At the same time, however, in stressing that our decision here rests on both the sentencing
10           judge's expressed misgivings about the sentence required by the mandatory Guidelines as well as
             the relative timing of the Supreme Court's Blakely decision and the termination of our appellate
11           jurisdiction, we do not suggest that these same elements must always be present in order for a
             mandate to be recalled. Rather future panels will necessarily evaluate the existence of
12           "extraordinary circumstances" warranting the recall of a mandate based on the facts of their
             individual cases.
13
     U.S. v. Crawford, 422 F.3d 1145 (9th Cir. 2005).
14
             At his sentencing on August 14, 1998, Mr. Tillitz objected to the guideline recommendation in the
15
     presentence report. C05-5144RJB, Dkt. 1, Attachment B, at 12-13. In response to Mr. Tillitz’s objection,
16
     the court stated as follows:
17
             THE COURT: Well, your objection to the guidelines is noted.
18
                      It might interest you to know, Mr. Tillitz, that I ruled in this court a long time ago that it
19           was my opinion that these guidelines were contrary to the United States Constitution. That issue
             has been laid to rest contrary to my view by the United States Supreme Court. So these guidelines,
20           in spite of your view on the legality of them and my view on it, they are part of the law of the land
             that bind me and I must follow that.
21
             THE DEFENDANT: What case was that where you made your ruling on?
22
             THE COURT: I don’t even remember the name of it. It was shortly after the guidelines came into
23           effect. It’s past history now and it’s of no assistance to us.
24   Id., at 13-14. Based upon the mandatory Sentencing Guidelines in effect at the time, the court sentenced
25   Mr. Tillitz to 360 months of imprisonment, followed by five years of supervised release.
26           At Mr. Carrington’s sentencing on October 23, 1990, the court stated as follows:
27                   You know, let me just say something, I guess, for the record or the benefit of people that
             are interested.
28
                     I hear the plea all the time from defense lawyers, and once in awhile from the government,
             that the guidelines are not fair as applied to an individual case and there ought to be a different
     ORDER
     Page - 13
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB          Document 29
                                             Document 747 Filed
                                                            Filed11/03/2005
                                                                  11/03/05             Page
                                                                                        Page14
                                                                                             14ofof16
                                                                                                    16



 1           result–it’s more often from the defendant than from the government, but I have heard it both
             ways–and that this is proposed to be a court of justice and I ought to do justice as I see it instead of
 2           following the law. I don’t view my role that way. I’m stuck with bad law and criminal defendants
             are stuck with bad law and the rest of society is stuck with bad law. If this is bad law, then we are
 3           stuck with it. Like I mentioned before, garbage in, garbage out, and I feel frustrated by these long
             sentences. It’s contrary to the idea that one can pay a penalty for a crime and put it behind them
 4           within a reasonable period of time. But I guess the lawmakers have decided that the drug scourge
             in this country is serious enough that people who get caught up in this activity should be sentenced
 5           for lengthy periods that in some cases are tantamount or even greater than a life sentence under the
             state law.
 6
                     I have been sentencing felons for 21 years, and in the last couple of years I’m faced with
 7           these guidelines, and it’s very frustrating because it has diminished my responsibility and my
             authority. But the reason for these guidelines is to do exactly that. That is, to diminish the judge’s
 8           discretion. I think that I must, if I am to do my job right, I’ve got to find the facts as I find them
             and apply the guidelines, being the law, to those facts, and that’s the way you reach a conclusion. I
 9           can’t twist the facts because I want to come to a different conclusion.
10   Dkt. 9, Exh. A, at 379-80. Mr. Carrington was sentenced to 324 months of imprisonment and a fine.
11           The first of the “extraordinary circumstances” factors set forth in Crawford is present in the Tillitz
12   and Carrington cases, and distinguishes these cases from United States v. King, 419 F.3d 1035 (9th Cir.
13   2005). The second factor is absent only because of the accident of the timing of Blakely and Booker.
14   While it appears to this court that Mr. Tillitz and Mr. Carrington’s cases present extraordinary
15   circumstances, only the Ninth Circuit can recall its own mandate.
16           The court also notes that, in a prior motion under 28 U.S.C. § 2255, Mr. Tillitz unsuccessfully
17   raised the issue that his sentence was invalid because the jury failed to determine drug quantity beyond a
18   reasonable doubt. Tillitz v. U.S.A., C01-5257RJB. Mr. Tillitz also unsuccessfully raised the issue of
19   invalidity of his sentence because the judge rather than a jury found a sentencing factor (four level
20   enhancement for role in the offense) in a prior Section 2255 action. Tillitz v. United States District Court,
21   C04-5381RJB. However inartfully pled and argued in those cases, the Apprendi issues were raised by Mr.
22   Tillitz before Booker was decided in 2005. It is therefore possible that Mr. Tillitz may have raised issues in
23   his prior cases sufficient to be considered “extraordinary circumstances” warranting recall of the mandate.
24           Neither of the petitioners in this case has filed a motion to recall the mandate, but that distinction
25   may be more form rather than substance. Whether such an avenue may be available to Mr. Tillitz and/or
26   Mr. Carrington is for the Ninth Circuit to decide.
27           7. Comments by the Court. Both Mr. Tillitz and Mr. Carrington’s sentences may equal life in
28   prison. Those sentences may have been appropriate at the time they were imposed, or they may not have
     been. At the time the sentences were imposed, the court was narrowly restricted in exercising discretion
     ORDER
     Page - 14
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB          Document 29
                                             Document 747 Filed
                                                            Filed11/03/2005
                                                                  11/03/05             Page
                                                                                        Page15
                                                                                             15ofof16
                                                                                                    16



 1   under the then-mandatory Sentencing Guidelines. Both Mr. Tillitz and Mr. Carrington were sentenced
 2   pursuant to a sentencing scheme that was unconstitutional. The mandatory nature of the guidelines is
 3   unconstitutional now, and it was unconstitutional at the time Mr. Tillitz and Mr. Carrington were
 4   sentenced. Yet no apparent relief, or even an opportunity for relief, appears to be available for them
 5   because Booker relief has not been made retroactive by the Supreme Court.
 6           Finally, the court summarizes the situation with regard to Mr. Tillitz and Mr. Carrington: A
 7   Sentencing Guidelines scheme was adopted by Congress and implemented by the United States Sentencing
 8   Commission on November 1, 1987. See Pub.L. No. 98-473, § 235(a)(1), 98 Stat. 1987, 2031-32 (1984)
 9   and Pub.L. No. 99-217 § 4, 99 Stat. 1728 (1985). Many judges, including the undersigned, believed that
10   the Sentencing Guidelines were contrary to the requirements of the U.S. Constitution. See, for example,
11   U.S. v. Nordall, Western District of Washington Case No. CR 87-67B. Nevertheless, the Supreme Court,
12   in its wisdom, found that the guidelines passed constitutional muster. See Mistretta v. United States, 488
13   U.S. 361(1989) (holding that Sentencing Guidelines were constitutional, amounting to neither excessive
14   delegation of legislative power nor the violation of the principle of separation of powers).
15           Many defendants, including Mr. Tillitz and Mr. Carrington, were sentenced under the mandatory
16   guidelines scheme, and many, including Mr. Tillitz and Mr. Carrington, are still incarcerated under
17   mandatory guideline sentences.
18           In Booker, in 2005, the Supreme Court, again in its wisdom, determined that the mandatory
19   application of the Sentencing Guidelines did not, in fact, pass constitutional muster, but that discretionary
20   use of and reference to the guidelines in imposing a sentence did not violate the Constitution. The
21   Supreme Court did not, however, make Booker retroactive, to apply to defendants like Mr. Tillitz and Mr.
22   Carrington.
23           During the period of the guidelines’ mandatory life–1987 to 2005–judges, like the undersigned, did
24   their best to apply the law, assuming the constitutionality of the guidelines, and often sentencing defendants
25   to sentences that were inappropriate under any law or theory of sentencing except the guidelines. District
26   judges, in other words, tried to follow the law, even if it appeared to lead to injustice.
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     ORDER
     Page - 15
             Case3:05-cv-05144-RJB
            Case  3:94-cr-05074-RJB            Document 29
                                               Document 747 Filed
                                                              Filed11/03/2005
                                                                    11/03/05            Page
                                                                                         Page16
                                                                                              16ofof16
                                                                                                     16



 1              Now, under Booker, it is clear that the guidelines sentencing scheme was unconstitutional all along.
 2   It follows that defendants, still incarcerated under an unconstitutional sentencing scheme, would seek
 3   resentencing, even knowing that, on resentencing, longer sentences might be imposed. Yet, because of
 4   retroactivity rules, defendants serving unconstitutional sentences are offered no relief, no remedy, and no
 5   justice.
 6              Trial judges, more than anything, want to do the right thing. We understand our obligation to
 7   follow the law, but deeply–and even desperately–hope that the law will lead to justice. If we are part of an
 8   injustice, we want to set it right, even if it involves a great deal of extra work. To quote Gerry Spence:
 9              [S]ometimes a judge doesn’t know how to get justice . . . . [T]he judge has to just sit up there and
                watch justice fail right in front of him, right in his own courtroom, and he doesn’t know what to do
10              about it, and it makes him feel sad . . . . Sometimes he even gets angry about it.
11   Gerry H. Spence, Of Murder and Madness: A True Story, 490 (1983).
12              This judge, sad and a little angry, would welcome an opportunity to resentence these defendants to
13   a constitutional and legal sentence.
14              Nevertheless, it is hereby
15              ORDERED that Mr. Tillitz’s motion for a Writ of Error Audita Querela (C05-5144RJB, Dkt. 1)
16   and Mr. Carrington’s Motion for Modification of an Imposed Term of Imprisonment Pursuant to 18
17   U.S.C. § 3582(c)(2)(C05-5286RJB, Dkt. 1) are CONSTRUED as motions to vacate, correct or set aside
18   sentences under 28 U.S.C. § 2255, and are hereby TRANSFERRED to the United States Court of
19   Appeals for the Ninth Circuit to determine whether this court may consider the motions as successive
20   motions under 28 U.S.C. § 2255, or whether one or both petitioners is entitled to other relief, such as
21   withdrawal of the mandate.
22              The Clerk is directed to send uncertified copies of this Order to all counsel of record and to any
23   party appearing pro se at said party’s last known address.
24              DATED this 3rd day of November, 2005.
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27
                                                      A
                                                      Robert J. Bryan
                                                      United States District Judge
28


     ORDER
     Page - 16
